       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 1 of 42




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03010-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.




State of Colorado, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03715-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.


         DEFENDANT’S RESPONSIVE PROPOSED CONCLUSIONS OF LAW
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 2 of 42




                                           TABLE OF CONTENTS

I.     PLAINTIFFS HAVE NOT PROVEN THE EXISTENCE OF THEIR ALLEGED
       RELEVANT ANTITRUST PRODUCT MARKETS. ........................................................3
       A.     General Search Services Is Not a Relevant Antitrust Market. .................................3
       B.     Search Advertising, General Search Advertising, and General Search Text
              Advertising Are Not Relevant Antitrust Markets. ...................................................5
II.    PLAINTIFFS HAVE NOT DEMONSTRATED THAT GOOGLE POSSESSES
       MONOPOLY POWER IN ANY RELEVANT MARKET. ................................................8
       A.     Plaintiffs Have Not Established Monopoly Power Directly. ...................................8
       B.     Plaintiffs Have Not Established Monopoly Power Indirectly..................................9
III.   GOOGLE HAS NOT ENGAGED IN EXCLUSIONARY CONDUCT THAT
       COMPRISES THE WILLFUL MAINTENANCE OF MONOPOLY POWER. ................9
       A.     Plaintiffs Misinterpret and Misapply the Section Two Framework.........................9
       B.     Plaintiffs’ Abandonment of the Exclusive Dealing Doctrine Does Not
              Lessen Their Section Two Burden. ........................................................................12
       C.     Plaintiffs Misinterpret and Misapply the Exclusive Dealing Framework. ............14
              1.        Plaintiffs have failed to establish that the challenged agreements
                        are exclusive or de facto exclusive. ...........................................................14
              2.        Plaintiffs misinterpret the role of foreclosure, which is a screen
                        applied prior to assessing substantial anticompetitive effects. ..................16
              3.        Plaintiffs erroneously conflate coverage with foreclosure instead of
                        evaluating it in relation to an economically valid but-for world. ..............16
              4.        Lawful conduct cannot be aggregated in determining whether
                        Plaintiffs have shown substantial foreclosure. ...........................................18
       D.     Plaintiffs Have Failed to Show the Requisite Anticompetitive Effects from
              the Browser Agreements. .......................................................................................19
       E.     Plaintiffs Have Failed to Show the Requisite Anticompetitive Effects from
              the Android Agreements. .......................................................................................21
       F.     Plaintiffs Have Failed to Show the Requisite Anticompetitive Effects from
              an Alleged Deprivation of Scale. ...........................................................................22
       G.     Plaintiffs Have Failed to Show the Requisite Anticompetitive Effects from
              Purportedly Diminished Investment Incentives or Alleged Harm to Search
              Users or Advertisers. ..............................................................................................23
       H.     Plaintiffs Misinterpret the Procompetitive Benefits of the Challenged
              Agreements and Fail to Meet Their Burden under Section Two. ..........................25
       I.     Plaintiffs Have Not Rebutted the Justifications for the Browser
              Agreements. ...........................................................................................................27

                                                              i
      Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 3 of 42




      J.    Plaintiffs Have Not Rebutted the Justifications for the Android
            Agreements. ...........................................................................................................30
      K.    Google’s SA360 Conduct Is Not a Basis for Liability under Section Two. ..........32
IV.   PLAINTIFFS’ REQUEST FOR SANCTIONS SHOULD BE DENIED..........................35




                                                            ii
            Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 4 of 42




                                                  TABLE OF AUTHORITIES

                                                                   CASES
A.I.B. Express, Inc. v. FedEx Corp., 358 F. Supp. 2d 239 (S.D.N.Y. 2004) .................................33
Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991 (9th Cir.
    2010) ........................................................................................................................................26
Ball Mem. Hosp., Inc. v. Mutual Hosp. Ins., 784 F.2d 1325 (7th Cir. 1986).................................10
Barry Wright Corp. v. ITT Grinnell Corp., 724 F.2d 227 (1st Cir. 1983) ............................. passim
Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263 (2d Cir. 1979) ......................................23
Berlyn Inc. v. The Gazette Newspapers, Inc., 73 F. App’x 576 (4th Cir. 2003) ..............................5
Blue Cross & Blue Shield United of Wisc. v. Marshfield Clinic, 65 F.3d 1406 (7th Cir.
   1995) ..........................................................................................................................................8
Brown Shoe Co. v. United States, 370 U.S. 294 (1962) ..............................................................3, 5
Chase Mfg. v. Johns Mansville Corp., 84 F.4th 1157 (10th Cir. 2023) .........................................14
Continental T.V., Inc. v. GTE Sylvania Inc., 433 U.S. 36 (1977) ..................................................26
Eastman Kodak Co. v. Image Tech Servs., Inc., 504 U.S. 451 (1992) ..........................................27
Foremost Pro Color, Inc. v. Eastman Kodak Co., 703 F.2d 534 (9th Cir. 1983), overruled
   on other grounds by Chroma Lighting v. GTE Prods., 111 F.3d 653 (9th Cir. 1997).................
     ......................................................................................................................................10, 11, 23
Freeland v. AT&T Corp., 238 F.R.D. 130 (S.D.N.Y. 2006)............................................................6
FTC v. Qualcomm Inc., 969 F.3d 974 (9th Cir. 2020)...................................................................11
FTC v. Wilh. Wilhelmsen Holding ASA, 341 F. Supp. 3d 27 (D.D.C. 2018)...................................5
Green Country Food Market, Inc. v. Bottling Grp., LLC, 371 F.3d 1275 (10th Cir. 2004) ............4
Hicks v. PGA Tour, Inc., 897 F.3d 1109 (9th Cir. 2018) .................................................................5
In re EpiPen Mktg., Sales Practices & Antitrust Litig., 44 F.4th 959 (10th Cir. 2022) ....................
     ................................................................................................................................11, 27, 28, 29
In re Wireless Tel. Servs. Antitrust Litig., 385 F. Supp. 2d 403 (S.D.N.Y. 2005) .........................25
Jack Walters & Sons Corp. v. Morton Bldg., Inc., 737 F.2d 698 (7th Cir. 1984) .........................19
Kochert v. Greater Lafayette Health Servs., Inc., 463 F.3d 710 (7th Cir. 2006)...........................24
Lorain Journal Co. v. United States, 342 U.S. 143 (1951)............................................................34
McWane, Inc. v. FTC, 783 F.3d 814 (11th Cir. 2015) .............................................................17, 18
NCAA v. Alston, 594 U.S. 69 (2021)........................................................................................25, 30
New York v. Meta Platforms, Inc., 66 F.4th 288 (D.C. Cir. 2023) ..........................................32, 34
Novell, Inc. v. Microsoft Corp., 731 F.3d 1064 (10th Cir. 2013) ............................................33, 34

                                                                        iii
            Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 5 of 42




Ohio v. Am. Express Co., 585 U.S. 529 (2018) ...................................................................8, 20, 21
Otter Tail Power Co. v. United States, 410 U.S. 366 (1973).........................................................33
Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438 (2009) ................................18, 20, 35
Paddock Publ’ns, Inc. v. Chi. Trib. Co., 103 F.3d 42 (7th Cir. 1996) ...........................................28
Parsons v. Bright House Networks, LLC, 2010 WL 5094258 (N.D. Ala. Feb. 23, 2010) ............33
Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430 (3d Cir. 1997) ...............................6
Rambus Inc. v. FTC, 522 F.3d 456 (D.C. Cir. 2008) ...............................................................10, 17
Rebel Oil, Inc. v. Atl. Richfield Co., 51 F.3d 1421 (9th Cir. 1995)..................................................9
Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210 (D.C. Cir. 1986) ....................3
Safeway, Inc. v. Abbott Labs., 761 F. Supp. 2d 874 (N.D. Cal. 2011) ..........................................33
Stearns Airport Equip. Co. v. FMC Corp., 170 F.3d 518 (5th Cir. 1999) .....................................27
Stop & Shop Supermarket Co. v. Blue Cross & Blue Shield of R.I., 373 F.3d 57 (1st Cir.
   2004) ........................................................................................................................................16
Sullivan v. NFL, 34 F.3d 1091 (1st Cir. 1994) ...............................................................................26
Telecor Commc’ns v. Sw. Bell Tel. Co., 305 F.3d 1124 (10th Cir. 2002) .......................................7
Thurman Indus., Inc. v. Pay ‘N Pak Stores, Inc., 875 F.2d 1369 (9th Cir. 1989) ...........................4
United States v. Baker Hughes Inc., 908 F.2d 981 (D.C. Cir. 1990) ...............................................9
United States v. Eastman Kodak Co., 63 F.3d 95 (2d Cir. 1995) ....................................................3
United States v. Engelhard Corp., 126 F.3d 1302 (11th Cir. 1997) ................................................7
United States v. Google LLC, 2023 WL 4999901 (D.D.C. Aug. 4, 2023) ................................1, 18
United States v. Microsoft Corp., 253 F.3d 34 (D.C. Cir. 2001) (en banc) (per curiam) ...... passim
United States v. Microsoft Corp., 84 F. Supp. 2d 9 (D.D.C. 1999) ....................................... passim
United States v. Microsoft Corp., 87 F. Supp. 2d 30 (D.D.C. 2000) .............................................14
Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398 (2004) .........32, 34
Viamedia, Inc. v. Comcast Corp., 951 F.3d 429 (7th Cir. 2020) ...................................................23
ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254 (3d Cir. 2012) .....................................................14
                                                    STATUTES AND RULES
Section 1 of the Sherman Act, 15 U.S.C. § 1.................................................................................33
Section 2 of the Sherman Act, 15 U.S.C. § 2......................................................................... passim




                                                                        iv
    Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 6 of 42




                                 ABBREVIATIONS

CITATION                             CORRESPONDING FILING
    FOF        Defendant’s Proposed Findings of Fact (ECF 828)
   RFOF        Defendant’s Responsive Proposed Findings of Fact (ECF 856)
 Google Br.    Defendant’s Post-Trial Brief (ECF 826)
Google COL     Defendant’s Proposed Conclusions of Law (ECF 827)
  DOJ Br.      Plaintiffs’ Post-Trial Brief (ECF 820)
 DOJ COL       Plaintiffs’ Proposed Conclusions of Law (ECF 821)
  DOJ FOF      Plaintiffs’ Proposed Findings of Fact (ECF 822)
Colorado Br.   Plaintiff States’ Post-Trial Brief (ECF 823)
Colorado COL   Plaintiff States’ Proposed Conclusions of Law (ECF 824)
Colorado FOF   Plaintiff States’ Proposed Findings of Fact (ECF 825)




                                           v
        Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 7 of 42




       After years of litigation and a ten-week trial, Plaintiffs failed to prove each of their

claims. Confronted with the evidence, their post-trial submissions cast aside both settled law and

their original allegations and attempt to replace them with novel theories that are equally

unsupported by the record and would turn the Sherman Act on its head.

       Plaintiffs’ Complaints were based on allegations that Google’s browser and Android

agreements are exclusive or de facto exclusive deals. The Complaints collectively used a

variation of the term “exclusive” more than 20 times, and the Court’s summary judgment

opinion evaluated each of the challenged agreements under the established exclusive-dealing

framework. United States v. Google LLC, 2023 WL 4999901, at *14-20 (D.D.C. Aug. 4, 2023).

Plaintiffs hewed to this framework at trial, where their expert economists attempted to analyze

the agreements consistent with the exclusive-dealing paradigm. Tr. 5711:24-5712:13 (Whinston),

7018:3-21 (Baker). In their post-trial submissions, however, Plaintiffs for the first time contend

that the exclusive-dealing requirements set forth in antitrust jurisprudence are “too narrow for

this action” and urge the Court to “undertake a flexible, case-specific inquiry.” DOJ COL at 13.

That is because Plaintiffs cannot satisfy the applicable legal standard. The challenged agreements

are not exclusive or de facto exclusive and do not harm competition because they do not

foreclose competition in a substantial share of the alleged markets. But even under Plaintiffs’

legally unsupported approach, their claims fail. No precedent condemns the agreements at issue,

which reflect decisions by browser developers, Android OEMs, and wireless carriers to set the

highest-quality search engine as the default in their browsers or preinstall it on their devices

based on a determination of what is best for their customers.

       Plaintiffs’ dramatic post-trial shift is perhaps most apparent in their contention that

Google’s agreement with Apple unlawfully deters Apple from entering the alleged markets.



                                                  1
        Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 8 of 42




Notwithstanding a lengthy pre-litigation investigation, the theory that Apple has been unlawfully

deterred from developing a general search engine by Google competing to be the Safari default

appears nowhere in Plaintiffs’ Complaints. And despite an extensive discovery process, there is

no mention of the theory in Plaintiffs’ interrogatory responses. ECF 432-6. Plaintiffs’ theory is as

radical as it is novel: barred from obtaining the best search service at the best price, Apple would

be forced to operate its own general search engine and search advertising business, even though

there is no evidence that Apple could or ever wanted to develop a search engine or search

advertising platform (much less one that was better than Google’s). And Plaintiffs nowhere

explain how Google could possibly know that it was prohibited from continuing to compete to

provide the default search engine for Safari because, according to Plaintiffs, Apple’s driving of

the best bargain might deter Apple from building its own search engine. Nor do Plaintiffs explain

why Microsoft, or any other search provider, offering a revenue share to be the default on the

Safari browser would not, according to Plaintiffs’ unorthodox theory, have the same effect of

deterring Apple from entering the market. Plaintiffs’ attack on a commonplace “build or buy”

choice has no precedent in antitrust law and violates due process, as it would be impossible for

any firm to know whether the terms another party bargained for would deter its entry.

       Plaintiffs’ last-minute reshuffling is part of an unprecedented effort to overturn

competitive processes to impose particular outcomes, defying the bedrock principle that the

Sherman Act protects competition, not competitors. United States v. Microsoft Corp., 253 F.3d

34, 59 (D.C. Cir. 2001) (en banc). Plaintiffs seek to restrain Google from competing as its rivals

do and as Google has since long before Plaintiffs identified any purported harm to competition in

the hope of inducing consumers to use a lower-quality search engine and compelling non-parties

to take actions they testified are not in the best interest of their users. To reach that outcome,



                                                   2
        Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 9 of 42




Plaintiffs seek to condemn the use of lawfully acquired scale to deliver a higher-quality, more-

efficient service. Protecting competitors from competition is all the more inappropriate given that

Plaintiffs rely on superficial evidence of the role of scale while disregarding empirical events and

a rigorous experiment. Finally, while Colorado Plaintiffs’ SA360 claim fails for its own reasons,

they too ask the Court to take an unprecedented step by mandating that Google build all features

requested by a competitor (Microsoft) and do so on the competitor’s stated timeline.

I.     PLAINTIFFS HAVE NOT PROVEN THE EXISTENCE OF THEIR
       ALLEGED RELEVANT ANTITRUST PRODUCT MARKETS.

       A.      General Search Services Is Not a Relevant Antitrust Market.

       1.      Although Plaintiffs’ market-definition arguments focus on the “practical indicia”

described in Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962), they concede that the

pertinent question is whether products they exclude from the alleged markets are “reasonably

interchangeable” with the products they include. DOJ Br. at 10; see Microsoft, 253 F.3d at 52;

Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210, 218 n.4 (D.C. Cir. 1986).

       2.      As Colorado Plaintiffs acknowledge, “the ‘actual behavior’ of customers” is

central to determining reasonable interchangeability. Colorado COL ¶ 9. Plaintiffs’ user-side

market definition is fatally flawed because the actual behavior of customers shows they readily

choose between a general search engine (GSE) and services outside Plaintiffs’ alleged markets—

such as specialized vertical providers (SVPs) and social media platforms—on a query-by-query

or category-by-category basis. FOF ¶¶ 637-66, 680-94, 920-87; RFOF ¶¶ 2-11.

       3.      Plaintiffs have not met their burden by referencing the Cellophane fallacy. They

do not point to a single court disregarding evidence of actual substitution based on that theory,

and the case they cite rejected the argument. DOJ COL at 6-7; see United States v. Eastman

Kodak Co., 63 F.3d 95, 105 (2d Cir. 1995). The evidence demonstrates that SVPs like Amazon


                                                 3
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 10 of 42




and Expedia attract significant numbers of queries that might otherwise be answered by Google

Search because they are strong competitors in their own right, not because Google has made

other GSEs poor substitutes or degraded its own quality. FOF ¶¶ 667-760, 946-67, 976-81.

       4.      Even the “practical indicia” relied on by Plaintiffs do not support their alleged

market for general search services. For example:

       a)      Plaintiffs contend that GSEs have “peculiar characteristics and uses” because they

answer all types of queries (DOJ Br. at 11), but that is not a basis for defining a relevant market

where, as here, customers use whichever website or app can best address each query rather than

demanding responses to a cluster of disparate queries in a given visit. Green Country Food

Market, Inc. v. Bottling Grp., LLC, 371 F.3d 1275, 1284 (10th Cir. 2004).

       b)      Plaintiffs contend that GSEs use “unique production facilities” because they crawl

and index the web (DOJ Br. at 12), but they ignore the ways in which GSEs also source data and

build features in competition with SVPs. FOF ¶¶ 637-51, 680-760; RFOF ¶¶ 6-7. That Google

also answers many other types of queries is not sufficient to define a valid antitrust market.

Thurman Indus., Inc. v. Pay ‘N Pak Stores, Inc., 875 F.2d 1369, 1374, 1377 (9th Cir. 1989).

       c)      With respect to “industry recognition” (DOJ Br. at 12-13), the record is replete

with evidence of Google Search recognizing SVPs and apps such as TikTok as principal

competitors and improving Google Search to meet that competition; those companies similarly

view Google Search as a principal competitor. FOF ¶¶ 682-94, 930-36, 945-81; RFOF ¶¶ 10-15.

Plaintiffs’ reference to the views of “browser companies” is inapposite because Plaintiffs admit

that their user-side market must be assessed “from a user’s perspective.” DOJ Br. at 12-13.

       d)       Plaintiffs’ “public recognition” arguments depend on unsubstantiated assertions

that GSEs save “time and mental effort” (DOJ Br. at 13), while the evidence shows that



                                                 4
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 11 of 42




consumers routinely switch between websites and apps, and use Amazon for a shopping search

or Yelp for a local query about as often as they start with Google. FOF ¶¶ 930-65, 982-87.

       e)      The “practical indicia” that Plaintiffs do not address—such as “distinct

customers” and “distinct prices,” Brown Shoe, 370 U.S. at 525—further undermine their alleged

market, as Google and its chief competitors compete for the same consumers and attract them by

offering the ability to search for free. FOF ¶¶ 946-66, 973-80.

       5.      Plaintiffs do not move the needle by arguing that Google’s revenue has increased

alongside its competitors’ or that consumers who use certain competing services such as Amazon

or Facebook may also use Google. DOJ Br. at 14-15. The evidence reflects extraordinary output

growth among GSEs, SVPs, and social media platforms, with each vying for a rapidly growing

number of user queries. FOF ¶¶ 667-79, 971-77, 1084. When, as here, Google’s quality is

continually increasing as well, Google’s growth does not indicate whether customers would be

unable or unwilling “to substitute away from one product to another in response to a price

increase or a corresponding non-price change such as reduction in product quality or service.”

FTC v. Wilh. Wilhelmsen Holding ASA, 341 F. Supp. 3d 27, 45 (D.D.C. 2018).

       B.      Search Advertising, General Search Advertising, and General Search Text
               Advertising Are Not Relevant Antitrust Markets.

       6.      Plaintiffs’ asserted ads-side markets ignore how advertisers actually use ads to

achieve their objectives. FOF ¶¶ 1001-78; RFOF ¶¶ 17-21. These shortcomings illustrate why

“many courts have rejected antitrust claims reliant on proposed advertising markets limited to a

single form of advertising.” Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1123 (9th Cir. 2018); see

Berlyn Inc. v. The Gazette Newspapers, Inc., 73 F. App’x 576, 583 (4th Cir. 2003).

       7.      Plaintiffs’ reliance on “practical indicia” does not support their asserted market

for search advertising. For example:


                                                 5
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 12 of 42




       a)      Plaintiffs’ evidence of “peculiar uses and characteristics” depends on an archaic

view of the “marketing funnel” (DOJ Br. at 17) that is at odds with advertisers’ objectives and

practices, and Plaintiffs fail to account for the practical realities of how ad formats outside the

alleged relevant markets—such as social media ads—use powerful signals of consumer interest

to accomplish the same objectives as search ads. FOF ¶¶ 1018-40, 1065-78; RFOF ¶ 19.

       b)      Plaintiffs’ assertions regarding “unique production facilities” (DOJ Br. at 18)

overlook important similarities, including that ad types erroneously excluded from their alleged

markets often are sold in real time through an auction in order to appeal to a particular user’s

previously expressed interests. FOF ¶¶ 1009-15, 1025-40; RFOF ¶ 19.

       c)      Plaintiffs’ argument regarding “distinct prices and sensitivity to price change”

(DOJ Br. at 18) elevates superficial distinctions and ignores that advertisers respond to changes

in their return on investment across ad types. FOF ¶¶ 999-1015, 1045-64; RFOF ¶¶ 18-21.

       d)      The evidence reflects recognition within Google and across the industry that

search ads compete with other digital ad types, and even within Plaintiffs’ flawed funnel

construct, search ads frequently are grouped by advertisers with social and display ads because

they are “roughly equivalent to another for the use to which [they are] put” and therefore should

not be excluded from a properly defined market. Queen City Pizza, Inc. v. Domino’s Pizza, Inc.,

124 F.3d 430, 437 (3d Cir. 1997); see FOF ¶¶ 1018-35, 1070-78.

       8.      Plaintiffs’ contention that the return on investment of ads can be “costly and

difficult to calculate” (DOJ Br. at 22) fails because evidence shows advertisers routinely

performing such analyses in deciding how to allocate their ad spend. FOF ¶¶ 1001-09. And the

assertion that “there is little advertiser substitution in response to Text Ad increases” (DOJ Br. at

22) improperly ignores quality-adjusted prices. FOF ¶¶ 1131-43; see Freeland v. AT&T Corp.,



                                                  6
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 13 of 42




238 F.R.D. 130, 149 (S.D.N.Y. 2006) (“An analysis of price change in a product must account

for changes in the product over time ‘so that only real price changes will be measured.’”).

       9.      These shortcomings also undermine Plaintiffs’ alleged market for general search

text ads. It is immaterial that some advertisers do not buy product listing ads (PLAs) from

Google because the evidence shows they would respond to a quality-adjusted price increase by

buying ads elsewhere, including on social media sites and the open web. FOF ¶¶ 1045-64; RFOF

¶¶ 18-19. In any event, Plaintiffs cannot place actual substitutes in different markets even if they

had proven that some advertisers would not respond, or would not respond in the same way, to a

hypothetical price increase. United States v. Engelhard Corp., 126 F.3d 1302, 1306 (11th Cir.

1997); see Telecor Commc’ns v. Sw. Bell Tel. Co., 305 F.3d 1124, 1132 (10th Cir. 2002).

       10.     Furthermore, the evidence shows that advertisers who purchase both text ads and

PLAs shift their spend between those ad types based on relative performance. FOF ¶¶ 1060-63.

This confirms that Plaintiffs’ “practical indicia” argument fails because the purported

distinctions between ad types do not deter advertisers from responding to quality-adjusted price

changes.

       11.     Colorado Plaintiffs’ asserted market for general search advertising fails because it

relies on the same flawed arguments to exclude social media and display ads. Colorado Br. at 8.

Colorado Plaintiffs also exclude search ads sold by SVPs because “GSE users are more likely to

be in a research or consideration mindset” and “often have not yet decided whether to purchase a

product” (id. at 10), which contradicts Plaintiffs’ unsubstantiated assertion that all search ads are

distinctive due to “a high likelihood that the user has actual real-time interest in buying” a

product. DOJ Br. at 17. Social media ads, moreover, are likewise used to target undecided

consumers, yet placed outside Colorado Plaintiffs’ infirm market. FOF ¶¶ 1025-40, 1070-78.



                                                  7
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 14 of 42




II.    PLAINTIFFS HAVE NOT DEMONSTRATED THAT GOOGLE POSSESSES
       MONOPOLY POWER IN ANY RELEVANT MARKET.

       A.      Plaintiffs Have Not Established Monopoly Power Directly.

       12.     It is undisputed that output has not been restricted in any of Plaintiffs’ alleged

markets, but rather has expanded dramatically. FOF ¶¶ 1084, 1125. Because there is no evidence

of an output restriction, Plaintiffs have not established directly that Google possesses monopoly

power. Ohio v. Am. Express Co., 585 U.S. 529, 549 (2018).

       13.     Although lack of proof of power to control output is dispositive, Plaintiffs’ other

assertions also do not provide direct evidence of monopoly power. With respect to the alleged

market for general search services, the “ordinary-course experiments” Plaintiffs reference (DOJ

Br. at 28) in fact demonstrate the absence of monopoly power, because search queries decline

meaningfully if a particular aspect of search quality degrades temporarily, even without

accounting for the ever-improving quality of other aspects of Google Search. RFOF ¶¶ 16, 31-

34. Plaintiffs’ ads-side pricing evidence (DOJ Br. at 28) cannot show monopoly power because

it fails to account for quality improvements, and the evidence shows that the quality-adjusted

price of Google search ads has decreased, not increased. FOF ¶¶ 1131-43; RFOF ¶¶ 38-40.

       14.     Plaintiffs’ assertion that Google’s “search and related advertising business” has

experienced “high operating profit margins” would not support a finding of monopoly power

even if they had also proved the necessary restriction on output. DOJ Br. at 27. “[N]ot only do

measured rates of return reflect accounting conventions more than they do real profits (or losses)

… but there is not even a good economic theory that associates monopoly power with a high rate

of return” because “competitive firms may be highly profitable merely by virtue of having low

costs as a result of superior efficiency.” Blue Cross & Blue Shield United of Wisc. v. Marshfield

Clinic, 65 F.3d 1406, 1411-12 (7th Cir. 1995). Tellingly, Plaintiffs’ economic experts did not


                                                 8
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 15 of 42




opine that monopoly power should be inferred from the referenced margins, and DOJ did not call

its accounting expert, whose flawed opinion was subject to a Daubert motion. ECF 416.

       B.      Plaintiffs Have Not Established Monopoly Power Indirectly.

       15.     Plaintiffs also have not established monopoly power through indirect evidence, as

they failed to show “significant” barriers to entry. United States v. Baker Hughes Inc., 908 F.2d

981, 987-88 (D.C. Cir. 1990). The examples Plaintiffs cite (DuckDuckGo and Neeva) show that

the barriers to attracting millions of general search users and building a valuable business are far

lower than they contend. DOJ Br. at 25-26; see FOF ¶¶ 542-54, 563-64, 605-31; RFOF ¶¶ 25-29.

And unlike cases where entry barriers consist of “additional long-run costs that were not incurred

by incumbent firms but must be incurred by new entrants,” Rebel Oil, Inc. v. Atl. Richfield Co.,

51 F.3d 1421, 1439 (9th Cir. 1995), the financial resources and user-interaction data involved in

entering the alleged markets have been declining rapidly for years due to ongoing advancements

in modern machine learning and cloud computing. FOF ¶¶ 253-406, 524-53, 605-31, 1083.

       16.     With respect to the alleged search advertising market specifically, Plaintiffs have

not established significant barriers to entry because they admit that SVPs, which routinely enter

and thrive, do not encounter the barriers alleged by Plaintiffs. DOJ Br. at 12 (arguing that GSEs,

but not SVPs, purportedly require “technology and engineers” that “cost billions of dollars each

year”); see FOF ¶¶ 653-79, 997.

III.   GOOGLE HAS NOT ENGAGED IN EXCLUSIONARY CONDUCT THAT
       COMPRISES THE WILLFUL MAINTENANCE OF MONOPOLY POWER.

       A.      Plaintiffs Misinterpret and Misapply the Section Two Framework.

       17.     Plaintiffs bear the burden of demonstrating that each form of challenged conduct

has a “substantial” anticompetitive effect in the alleged relevant markets in relation to an

economically valid but-for world without the conduct at issue. Microsoft, 253 F.3d at 58, 62; see


                                                 9
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 16 of 42




Rambus Inc. v. FTC, 522 F.3d 456, 466-67 (D.C. Cir. 2008); Tr. 5779:18-5780:3 (Whinston)

(“When I get to anticompetitive effects, I am thinking about but-for worlds.”).

       18.     Plaintiffs have not made the requisite prima facie showing merely by identifying

purported detrimental effects on existing or “nascent” competitors. Microsoft, 253 F.3d at 58; see

DOJ COL at 11-13. The Microsoft court deemed specific conduct exclusionary only after

determining that “Microsoft’s conduct, through something other than competition on the merits,

has the effect of significantly reducing usage of rivals’ products and hence protecting its own

operating system monopoly.” 253 F.3d at 65 (emphasis added); id. at 58, 62.

       19.     Purportedly “foreclosing rivals and potential rivals from the most important

distribution channels” and “depriving rivals of scale” (DOJ COL at 13) cannot alone constitute

exclusionary conduct because competition on the merits produces those outcomes. After all,

“[c]ompetition is a ruthless process,” and many “injuries to rivals are byproducts of vigorous

competition.” Ball Mem. Hosp., Inc. v. Mutual Hosp. Ins., 784 F.2d 1325, 1338 (7th Cir. 1986).

       20.     “A monopolist, no less than any other competitor, is permitted and indeed

encouraged to compete aggressively on the merits.” Foremost Pro Color, Inc. v. Eastman Kodak

Co., 703 F.2d 534, 545 (9th Cir. 1983) (overruled on other grounds by Chroma Lighting v. GTE

Prods., 111 F.3d 653 (9th Cir. 1997)). Accordingly, courts have upheld conduct under Section 2

that had the purported effects Plaintiffs ascribe to the challenged agreements, including:

       a)      Paying IAPs to promote Microsoft’s IE browser, even though “IAPs constituted

one of the two major channels by which browsers can be distributed,” Microsoft, 253 F.3d at 70,

a browser “must have a critical mass of users in order to attract software developers,” id. at 60,

and the payments contributed to a “surge” in IE usage, United States v. Microsoft Corp., 84 F.

Supp. 2d 9, 70-71 (D.D.C. 1999); see Microsoft, 253 F.3d at 67-68.



                                                 10
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 17 of 42




       b)      Entering agreements that required the largest buyer in the market to “take nearly

all” of its requirements for a particular input from an alleged monopolist, even though such

agreements “might discourage sellers from entering, or seeking to sell in, a market at all, thereby

reducing the amount of competition that would otherwise be available.” Barry Wright Corp. v.

ITT Grinnell Corp., 724 F.2d 227, 228, 236 (1st Cir. 1983).

       c)      “Demand[ing] exclusive or preferred formulary placement,” even though that

same placement would have otherwise been available to a rival and it influenced customers’

purchasing decisions, as indicated by the defendant’s share having “dropped from an average of

94% … to about 12%” when it was removed from a particular formulary. In re EpiPen Mktg.,

Sales Practices & Antitrust Litig., 44 F.4th 959, 970, 979, 1006 (10th Cir. 2022).

       d)      Taking advantage of superior scale, including by “improving … efficiency in

manufacturing or marketing, even though the effect of doing so will be to maintain or improve

[the monopolist’s] sales.” Foremost Pro Color, 703 F.2d at 545.

       e)      “[E]xercis[ing] market dominance in the [relevant] markets for many years”

through “business practices [that] have played a powerful and disruptive role in those markets,”

even though that entailed “act[ing] with sharp elbows—as businesses often do.” FTC v.

Qualcomm Inc., 969 F.3d 974, 1005 (9th Cir. 2020).

       21.     Plaintiffs further misstate their burden by asserting that the “evidence need only

show that the conduct ‘reasonably appear[s] capable of making a significant contribution to …

maintaining monopoly power.’” DOJ COL at 11 (quoting Microsoft, 253 F.3d at 79). The quoted

language has no bearing on Plaintiffs’ burden to “demonstrate that the monopolist’s conduct

indeed has the requisite anticompetitive effect.” Microsoft, 253 F.3d at 58. Plaintiffs erroneously

rely on a separate section of Microsoft, which considered conduct the court had already



                                                11
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 18 of 42




condemned as exclusionary after applying the applicable framework, id. at 58-59, and addressed

a distinct question not at issue here—how plaintiffs can establish “a causal link between

Microsoft’s anticompetitive conduct, in particular its foreclosure of Netscape’s and Java’s

distribution channels, and the maintenance of Microsoft’s operating system monopoly.” Id. at 78.

       B.      Plaintiffs’ Abandonment of the Exclusive Dealing Doctrine Does Not Lessen
               Their Section Two Burden.

       22.     Each of the browser and Android agreements must be evaluated under the

exclusive-dealing framework, which requires Plaintiffs to show that the challenged terms are

exclusive or de facto exclusive. Plaintiffs must show not only exclusive dealing, but also

substantial foreclosure and how that foreclosure substantially harms competition. Id. at 69-71.

       23.     Plaintiffs’ contention that the exclusive-dealing framework is “too narrow for this

action” or “the wrong tool to properly weigh or assess [the alleged] harms” (DOJ COL at 13-14)

is not only contrary to how they pleaded and presented their case, but also unsupported by the

law. Courts apply the exclusive-dealing framework to agreements whenever Plaintiffs allege that

their terms wholly or largely prohibit partners from dealing with competitors and thereby

purportedly harm competition. Microsoft, 253 F.3d at 68, 72, 73 (applying exclusive-dealing

framework to agreements with IAPs that required exclusive promotion of IE and for IAPs to

keep shipments of software using Navigator under a specific percentage, agreements with ISVs

that the court characterized as “exclusive agreements” due to their onerous conditions, and an

agreement requiring Apple to discontinue preloading Navigator and instead preload IE); Barry

Wright, 724 F.2d at 237 (applying exclusive-dealing framework to partial requirements contract).

That is how Plaintiffs have characterized the agreements throughout, and even now they contend

that “Google has illegally maintained [monopoly] power by signing distributors to exclusive

contracts” that “depriv[e] … rivals of scale” and “stop[]” entry. DOJ Br. at 9 (emphasis added).


                                                12
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 19 of 42




       24.     That Microsoft “did not apply an exclusive-dealing standard” to “licenses between

Microsoft and OEMs” (DOJ COL at 14-15) ignores how those agreements involved conduct and

circumstances wholly absent in this case.

       a)      Microsoft’s Windows licensing agreements with OEMs that were condemned by

the court included product design limitations and other restrictions on OEMs’ ability to design

the user interface of their computers, as well as restrictions on how licensees could configure

Microsoft’s Windows products once licensed, that plainly harmed competition and lacked any

legitimate justification. 253 F.3d at 60-61, 64-65. That Microsoft declined to apply the exclusive-

dealing framework to such agreements, which differ from agreements that Plaintiffs themselves

allege are exclusive or de facto exclusive, is unremarkable.

       b)      Two further aspects of Microsoft’s OEM license restrictions are absent

here. First, the license agreements plainly had a significant effect, obviating the purpose of any

foreclosure screen. The agreements caused OEMs to cease preloading and promoting Navigator,

actions that OEMs previously engaged in because “shortly after its release, consumers were

already using Navigator far more than any other browser product.” 84 F. Supp. 2d at 29; see 253

F.3d at 47. Numerous OEMs—which “pay particularly close attention to consumer demand”—

wanted to preinstall Navigator, and it “enjoyed a substantial and growing presence on the

desktop of new PCs” until Microsoft’s restrictions “caused the number of OEMs offering

Navigator, and the number of PCs on which they offer it, to decline dramatically … to an

exiguous fraction of what it had been.” 84 F. Supp. 2d at 24, 67-69; see 253 F.3d at 60-62. The

restrictions thus deprived OEMs of the best browser, which “enjoy[ed] dramatic acceptance by

the public.” 84 F. Supp. 2d at 29; see 253 F.3d at 47. In this case, by contrast, the counterparties

to the agreements testified that they set Google as the default in their browsers or preinstall it on



                                                 13
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 20 of 42




their devices because they believe doing so is in the best interest of their customers. FOF ¶¶

1277-79, 1375-81, 1508-58.

       c)      Second, the Microsoft court also found that “OEMs felt compelled by Microsoft’s

actions to reduce drastically their distribution and promotion of Navigator.” United States v.

Microsoft Corp., 87 F. Supp. 2d 30, 39 (D.D.C. 2000). OEMs were “dependent on Microsoft for

Windows” and leading OEMs “needed to do what was necessary to restore its special

relationship with Microsoft” so they “stopped pre-installing Navigator.” 84 F. Supp. 2d at 36, 67.

There is no comparable evidence of coercion here. Counterparties can and do promote rivals

without facing retaliation, as evidenced by Mozilla’s ability to switch the Firefox default to

Yahoo without reprisal and then later switch back to Google. FOF ¶¶ 1365-77.

       25.     The other cited case where a court “declined to apply ‘an exclusive-dealing

framework’” (DOJ COL at 15) involved a defendant “threatening to refuse to supply distributors

with” its product, which is not at issue here, and found the exclusive-dealing cases supported the

outcome. Chase Mfg. v. Johns Mansville Corp., 84 F.4th 1157, 1166, 1170-75 (10th Cir. 2023).

       26.     Even if the Court accepted Plaintiffs’ post-trial reframing of their case and

declined to apply the exclusive-dealing framework, Plaintiffs still need to prove that the

challenged conduct “indeed has the requisite anticompetitive effect.” Microsoft, 253 F.3d at 58-

59, 70-71. As shown in Sections III.D-G infra, they have failed to do so.

       C.      Plaintiffs Misinterpret and Misapply the Exclusive Dealing Framework.

               1.      Plaintiffs have failed to establish that the challenged agreements are
                       exclusive or de facto exclusive.

       27.     Plaintiffs have not established that any of the challenged agreements (i.e., the

browser agreements, MADAs, or RSAs) are exclusive or de facto exclusive, which is a threshold

requirement of their claims. ZF Meritor LLC v. Eaton Corp., 696 F.3d 254, 282 (3d Cir. 2012).


                                                14
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 21 of 42




       28.     Plaintiffs’ assertion that Microsoft “determined that agreements establishing

Microsoft’s products as the ‘default’ were exclusive” (DOJ COL at 17) misses that Microsoft’s

IAP and JVM agreements are inapposite here:

       a)      Microsoft’s IAP agreements imposed a cap, requiring that a counterparty such as

AOL “not promote any non-Microsoft browser” and “not supply more than 15% of its

subscribers with a browser other than IE” in response to subscriber requests. 253 F.3d at 68

(emphasis added). Here, the challenged agreements do not cap the search traffic available to

rivals, or bar partners from enabling users to obtain a different search engine or browser, and a

significant percentage of users in fact search outside of default access points, including on Apple

iPhones, Windows PCs, and mobile devices with a non-Google default. FOF ¶¶ 47-52, 777-88,

847-59, 1401-14; RFOF ¶¶ 65, 86-91. Plaintiffs’ reference to other cases involving “provisions

[that] are only ‘partially’ exclusive” is inapposite for the same reason. DOJ COL at 18.

       b)      Microsoft’s JVM agreements required “that the ISVs use Microsoft’s ‘HTML

Help,’ which is accessible only with Internet Explorer,” so that “the most popular Web-centric

applications w[ould] rely on browsing technologies found only in Windows.” 253 F.3d at 71-72.

The agreements at issue lack any such technological restriction on dealings with rivals; entering

a deal with Google does not bar a partner from later deciding to set a rival search engine as the

default (as Mozilla did with Yahoo) or an Android OEM or carrier preinstalling a rival browser

or search app on its devices (as Microsoft does with the Surface Duo). FOF ¶¶ 1361-76, 1570-73.

       29.     Plaintiffs’ unsupported claim that “courts properly elevate substance over form by

examining an agreement’s effect based on the market realities” in determining whether its terms

are exclusive (DOJ COL at 17) reinforces Google’s point. In this case, the terms are neither

exclusive nor de facto exclusive; evidence shows that rivals can compete for the default, against



                                                15
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 22 of 42




the default, or both; and “market realities” also show that users readily disregard the default

when it is not set to their preferred search engine. FOF ¶¶ 1384-1414; RFOF ¶¶ 91-99.

               2.      Plaintiffs misinterpret the role of foreclosure, which is a screen
                       applied prior to assessing substantial anticompetitive effects.

       30.     Plaintiffs err in asserting that “exclusivity and substantial foreclosure are the only

elements of a prima facie case of exclusive dealing.” DOJ COL at 16 n.2, 19-20. The role of the

substantial foreclosure requirement is “to screen out” cases where exclusive dealing “clearly

cannot have the requisite harmful effect upon competition.” Microsoft, 253 F.3d at 69 (emphasis

added); see id. (explaining that “the requirement of a significant degree of foreclosure serves a

useful screening function” because “exclusivity provisions in contracts may serve many useful

purposes”); Stop & Shop Supermarket Co. v. Blue Cross & Blue Shield of R.I., 373 F.3d 57, 68

(1st Cir. 2004) (“[W]hile low numbers make dismissal easy, high numbers do not automatically

condemn, but only encourage closer scrutiny.”). The Microsoft court applied the substantial-

foreclosure screen and then considered whether and how the foreclosure indeed translated into

the requisite anticompetitive effects on the market. Microsoft, 253 F.3d at 70-71.

               3.      Plaintiffs erroneously conflate coverage with foreclosure instead of
                       evaluating it in relation to an economically valid but-for world.

       31.     Plaintiffs admit that “[f]oreclosure is measured by looking at the percentage of the

market that is ‘tied up’ by the exclusive-dealing contract” (DOJ COL at 20), but here that is not

synonymous with “the percentage of the market covered” by the challenged agreements. Id. at

19. Unlike exclusive dealing—where the agreement’s terms preclude a customer from accessing

a rival’s product from the distributor—the challenged agreements unquestionably do not “tie up”

all queries that flow through an access point, and consumers can access rival search engines

through the browser or Android device at issue. FOF ¶¶ 1401-14, 1587-97; RFOF ¶¶ 82-112.



                                                 16
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 23 of 42




       32.     While Plaintiffs urge the Court to reject “rigid test[s]” and consider “market

realities” (DOJ COL at 20), their approach actually ignores reality. If coverage equaled

foreclosure in this case, then Microsoft would have “tied up” every general search query entered

on a Windows PC today—and a majority of all U.S. general search queries as recently as the

early 2010s—even though it receives less than a quarter of those queries. FOF ¶¶ 47-52, 770,

824-31. Coverage is not a cognizable measure of foreclosure where rivals can compete for and

against the default (as is the case here) or where the evidence shows that only a fraction of the

covered volume is actually “tied up” by the challenged agreement (which is also true here).

       33.     Plaintiffs compound their error by arguing that the Court need not “measure

foreclosure relative to a but-for world.” DOJ COL at 22. Anticompetitive effects must be

examined relative to an economically valid but-for world, and Plaintiffs offer no sound

explanation for why foreclosure—which is a starting point for assessing anticompetitive

effects—warrants an exception. Tr. 6085:15-19 (Whinston); see Rambus, 522 F.3d at 466-67

(“[I]f [a third party], in the world that would have existed but for Rambus’s deception, would

have standardized the very same technologies, Rambus’s alleged deception cannot be said to

have had an effect on competition in violation of the antitrust laws.”); McWane, Inc. v. FTC, 783

F.3d 814, 838 (11th Cir. 2015) (describing exclusive dealing cases where the “targeted rival”

gained less market share “than it likely would have absent the conduct” (emphasis added)).

       34.     Plaintiffs are incorrect that “Microsoft anticipated and rejected Google’s

foreclosure argument.” DOJ COL at 22. Plaintiffs wrongly invoke Microsoft’s causation analysis

(253 F.3d at 79)—an issue that arises after determining that conduct harms competition and is

not presented here. Microsoft’s competitive harm analysis points decisively the other way

because the court analyzed how Microsoft’s conduct actually shifted shares. For example, “after



                                                 17
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 24 of 42




Microsoft began its campaign to protect the applications barrier to entry … Navigator’s share fell

from above eighty percent in January 1996 to fifty-five percent in November 1997,” while

“Internet Explorer’s share rose from around five percent to thirty-six percent over the same

period.” 84 F. Supp. 2d at 98-99. In a failure that is fatal to their case, Plaintiffs did not present

any comparable evidence, and instead instructed their experts not even to opine on the periods

before 2014 and 2016, respectively. Tr. 6092:6-6093:7 (Whinston), 7223:21-7224:10 (Baker).

        35.     Plaintiffs’ contention that foreclosure should not focus “on speculative

calculations” (DOJ COL at 22) confirms the absence of any valid analysis of how rivals would

fare “absent the conduct.” McWane, 783 F.3d at 838. It also cannot rescue Plaintiffs’ flawed

reliance on theoretical alternatives that do not reflect competitive outcomes (such as

unconditional revenue share payments and most-favored supplier arrangements) or inapposite

“thought experiments” (such as those used as inputs to Professor Whinston’s “Super Duck”

hypothetical). In any event, empirical events demonstrate the absence of substantial foreclosure

even under Plaintiffs’ “parity” hypothetical. FOF ¶¶ 793-823, 1426-32; RFOF ¶¶ 83, 100.

                4.      Lawful conduct cannot be aggregated in determining whether
                        Plaintiffs have shown substantial foreclosure.

        36.     Plaintiffs cannot satisfy the substantial foreclosure requirement by aggregating

market share gained from conduct that either was never alleged to be exclusionary or that the

Court does not condemn as exclusionary. Google, 2023 WL 4999901, at *12-14. The portion of

Microsoft cited by Plaintiffs (DOJ COL at 26-27) involved consideration of the effect of forms

of conduct that were each found to be exclusionary. 253 F.3d at 72; Pac. Bell Tel. Co. v. linkLine

Commc’ns, Inc., 555 U.S. 438, 457 (2009) (“Two wrong claims do not make one that is right.”).

        37.     The percentage of queries entered through user-downloaded versions of the

Chrome browser (e.g., on Apple and Windows devices) has no bearing on the analysis because


                                                   18
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 25 of 42




the ability of users to download Chrome does not foreclose competition in any respect. Plaintiffs

have never alleged that Google’s successful development of Chrome is anticompetitive, and they

are incorrect in asserting that “user downloaded Chrome queries are still unavailable to rivals.”

DOJ COL at 25. Consumers chose to download and use Chrome over pre-installed alternatives,

and users can change the default search engine in Chrome. FOF ¶¶ 914-19; RFOF ¶ 110.

       D.      Plaintiffs Have Failed to Show the Requisite Anticompetitive Effects from the
               Browser Agreements.

       38.     Plaintiffs’ claims regarding the browser agreements would fail even if those

agreements were evaluated outside of the exclusive-dealing framework, or even if they could

properly be characterized as exclusive or de facto exclusive deals.

       39.     Plaintiffs have not demonstrated the requisite anticompetitive effect through their

last-minute assertion that “Google’s payments to Apple incentivize Apple to not enter the

relevant markets.” DOJ Br. at 33. Plaintiffs did not advance this theory in their Complaints or

disclose it in their discovery responses. See Introduction supra. And for good reason, as it is

unsupported by the law and contradicted by the evidence.

       40.     It is not exclusionary for a firm to purchase an input for its product on attractive

terms rather than build the product itself, even if that firm purportedly has the technical ability

and financial resources to build the product. “Firms constantly face ‘make-or-buy’ decisions—

that is, decisions whether to purchase a good or service in the market or to produce it

internally—and ordinarily the decision, whichever way it goes, raises no antitrust question.” Jack

Walters & Sons Corp. v. Morton Bldg., Inc., 737 F.2d 698, 710 (7th Cir. 1984). The evidence

shows that Apple does not believe it would be in the best interest of its company and customers

to operate a GSE, and there is no evidence that Apple could operate a GSE that provides a better

user experience than Google such that Apple users would be better off. FOF ¶¶ 1293-1303;


                                                 19
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 26 of 42




RFOF ¶¶ 166-69. Plaintiffs cite no instance of a court finding harm to competition from a

“make-or-buy” decision, let alone when a firm such as Apple rationally concludes that it is better

off allocating its resources to areas other than vertically integrating into the alleged markets.

       41.     Plaintiffs’ argument that Apple has explored a range of alternatives—including

building or acquiring a GSE—but nevertheless decided to set Google as the default in Safari

further confirms that the agreement does not impair competition. DOJ Br. at 33-34; see Barry

Wright, 724 F.2d at 228-29, 237-38 (refusing to condemn an agreement where a buyer “agreed to

take nearly all its … requirements from” an alleged monopolist even though the buyer recently

had sought “to develop a new source of supply” because if the buyer believed the agreements

“significantly interfered with new entry, or inhibited the development of a new source of supply,

it is difficult to understand why it would have sought the agreements”).

       42.     The theory that the ISA unlawfully deters Apple from operating a GSE also fails

because, according to Plaintiffs, the incremental revenue Google receives from the agreement

has always exceeded its payments to Apple. DOJ Br. at 28. Offering above-cost pricing is not

predatory as a matter of law, linkLine, 555 U.S. at 451, and “the antitrust laws do not condemn

even a monopolist for offering its product at an attractive price.” Microsoft, 253 F.3d. at 68.

       43.     Plaintiffs’ new contention that “the ISA restricts Apple’s ability to grow its

Suggestions product” (DOJ Br. at 33) was not disclosed before trial and is inadmissible. In any

event, Plaintiffs admit that Suggestions is “not a general search engine,” and the evidence does

not support the assertion that it “one day could become a reasonable substitute.” DOJ Br. at 33;

see RFOF ¶¶ 170-72. The argument therefore does not contribute to Plaintiffs’ failed attempt “to

prove that the challenged restraint has a substantial anticompetitive effect that harms consumers

in the relevant market.” Am. Express, 585 U.S. at 541 (emphasis added).



                                                 20
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 27 of 42




       44.     Plaintiffs’ assertion regarding the “right-of-first refusal to show ads” in Apple’s

Spotlight feature is also baseless. DOJ Br. at 34. The evidence does not show that Apple wants to

“build[] its own Search Ads ability” to show ads in Spotlight (id.), let alone that it was dissuaded

from doing so by a provision that has never been invoked. RFOF ¶¶ 173-75. And Plaintiffs have

not even attempted to demonstrate that this provision has a “substantial” anticompetitive effect in

the rapidly growing alleged market for search advertising. Microsoft, 253 F.3d at 62.

       E.      Plaintiffs Have Failed to Show the Requisite Anticompetitive Effects from the
               Android Agreements.

       45.     Plaintiffs’ claims regarding the MADAs and Android RSAs likewise would fail

even if those agreements were evaluated outside of the exclusive-dealing framework, or even if

one or both could properly be characterized as exclusive or de facto exclusive deals.

       46.     Plaintiffs have not demonstrated substantial foreclosure from MADAs or RSAs,

let alone how such foreclosure translates into competitive harm inflicted on GSE rivals. Plaintiffs

identify no substantial foreclosure relative to a valid but-for world. Even under their parity but-

for world foreclosure is trivial (FOF ¶¶ 1426-32), and Plaintiffs fail to show any substantial

impact on rivalry for the reasons stated below. See Sections III.F-G infra. And as Google

previously explained, Plaintiffs’ Android “coverage” figures do not constitute substantial

foreclosure under applicable law. Google COL ¶ 106.

       47.     Plaintiffs also have not demonstrated the requisite anticompetitive effect through

their contentions regarding Branch’s “app-search product.” DOJ Br. at 34. The product

indisputably is not a GSE, and Branch admittedly never planned or attempted to enter the alleged

general search services market—a step Plaintiffs contend would have required substantial

investments. FOF ¶¶ 1628-35; see DOJ Br. at 24; Am. Express, 585 U.S. at 541.




                                                 21
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 28 of 42




       48.     Branch’s app-search product is also not analogous to the middleware products in

Microsoft, which threatened Microsoft’s monopoly power because they “could take over some or

all of Windows’s valuable platform functions” and thereby “erode the applications barrier to

entry” that protected Microsoft’s monopoly despite not presently competing in the relevant

market. 253 F.3d at 53, 55. No evidence shows that the proliferation of Branch’s app-search

functionality would have lowered barriers to entry for new or existing GSEs. RFOF ¶¶ 266-68.

Plaintiffs cannot tie their deficient Branch assertions to harm in the alleged relevant markets.

       49.     Moreover, unlike in Microsoft, the evidence in this case reflects that Android

OEMs and carriers installed the Branch services they wanted but declined to integrate additional

Branch functionality because of quality, privacy, and user-experience concerns, as opposed to

purported restrictions in the terms of their RSAs. FOF ¶¶ 1636-84; RFOF ¶¶ 273-82.

       F.      Plaintiffs Have Failed to Show the Requisite Anticompetitive Effects from an
               Alleged Deprivation of Scale.

       50.     Plaintiffs’ contention that “Google’s conduct has harmed the competitive process

by … depriving rivals of the scale necessary to compete” (DOJ Br. at 29) is based on a factual

premise that Plaintiffs failed to prove. A wide range of evidence—including, among other things,

Microsoft’s experience after substantially increasing its scale through its partnership with Yahoo

and Professor Fox’s data-reduction experiment—demonstrates that a purported lack of user-

interaction data does not explain rivals’ shortcomings. FOF ¶¶ 253-631; RFOF ¶¶ 137-64.

       51.     Even if Plaintiffs’ theory were not contrary to the evidence, their assertions about

Google’s use of data would not reflect harm to competition. “A firm that has lawfully acquired a

monopoly position is not barred from taking advantage of scale economies by constructing, for

example, a large and efficient factory” because “[t]hese benefits are a consequence of size and




                                                 22
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 29 of 42




not an exercise of power over the market.” Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d

263, 274 (2d Cir. 1979); see Foremost Pro Color, 703 F.2d at 545.

       52.     Plaintiffs do not move the needle by arguing that “Google’s defaults provide the

company with searches it would not otherwise receive” and thus have “deprived rivals of

queries.” DOJ Br. at 31-32. Competing to win business that otherwise might go to rivals does not

show “conduct which unfairly tends to destroy competition itself.” Microsoft, 253 F.3d at 58. As

an opinion cited by Plaintiffs puts it, “just because a firm has monopoly power doesn’t mean that

the law should prevent it from competing, as it would be absurd to require the monopolist to hold

a price umbrella over less efficient entrants.” Viamedia, Inc. v. Comcast Corp., 951 F.3d 429,

454 (7th Cir. 2020) (cleaned up). That is all the more apparent here, as Plaintiffs seek to restrain

the highest-quality search engine from continuing to compete for long-standing opportunities in

the hope that some consumers (perhaps unwittingly) will use an admittedly inferior product.

       53.     Finally, Plaintiffs have not even provided evidence of the amount of scale

purportedly “necessary to compete effectively” (DOJ Br. at 31), let alone that it might be

unlocked in an economically valid but-for world. Plaintiffs have not shown, for example, that

rivals’ quality or efficiency has improved following the introduction of a search engine choice

screen on Android devices in Europe, or that Bing achieved superior quality and efficiency due

to the defaults it obtained on early smartphones and through Windows, which was the source of

more queries than any other operating system until 2016. FOF ¶¶ 47, 407-56.

       G.      Plaintiffs Have Failed to Show the Requisite Anticompetitive Effects from
               Purportedly Diminished Investment Incentives or Alleged Harm to Search
               Users or Advertisers.

       54.     Plaintiffs have not demonstrated the requisite anticompetitive effects through their

theory that the challenged agreements impermissibly diminish investment incentives or harm



                                                 23
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 30 of 42




users and advertisers. For one thing, just as with Plaintiffs’ failed scale contention, the argument

is flawed because competition on the merits may impact investment incentives.

       55.     For another, the evidence contradicts Plaintiffs’ assertion that “Google settles for

‘good enough’” (DOJ Br. at 51), as the record demonstrates an uninterrupted commitment to

improving quality. FOF ¶¶ 77-252. Plaintiffs cite anecdotal instances where Google—like any

company in a competitive market—grappled with inevitable business judgments and tradeoffs,

such as how to continue improving quality while managing latency and offering users an optimal

range of privacy settings. DOJ Br. at 51-55. But Plaintiffs offer no baseline for measuring

Google’s investment incentives, and the evidence shows that Google indisputably has been the

highest quality search engine throughout the relevant period and has consistently improved due

to unrelenting investment and innovation. FOF ¶¶ 77-252, 1085-1102; RFOF ¶¶ 178-200; see

Kochert v. Greater Lafayette Health Servs., Inc., 463 F.3d 710, 719 (7th Cir. 2006).

       56.     The evidence does not show that other GSEs have increased their investments

under alternative circumstances, including in response to the introduction of choice screens,

receiving additional scale, or being set as the default. Furthermore, the challenged agreements

sharpen incentives by facilitating competition for and against the default. FOF ¶¶ 333-43, 1365-

73, 1435-54. Google invests in quality so that it will be chosen for default status or elevated

promotion and so that it will be chosen by the significant number of users who search outside the

access points subject to the challenged agreements—a population that accounts for nearly

of queries entered on iOS devices, for example. FOF ¶¶ 221-41, 1266-67, 1413, 1451-52. That

Microsoft does not want to invest unless it is the default in Safari is the opposite of the approach

Google took: investing in Search and its complements with no guarantee of success when the

vast majority of queries occurred on Windows devices, where Microsoft search engines and



                                                 24
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 31 of 42




browsers have long enjoyed overwhelming exclusive preinstallation and default status. FOF ¶¶

47-52, 824-31, 869-90, 904-19. In any event, the Sherman Act does not condone expropriating

opportunities from a company that has competed successfully on quality and price in the hope

that inferior competitors will improve through business they could not win on the merits.

       57.     Plaintiffs’ assertion of harm to advertisers (DOJ Br. at 56-58) depends on an

unreliable measure of nominal price that is “essentially worthless” in its failure to account for

changes in quality. In re Wireless Tel. Servs. Antitrust Litig., 385 F. Supp. 2d 403, 427-28

(S.D.N.Y. 2005); see FOF ¶¶ 1131-43. And Plaintiffs’ contentions regarding “Google’s lack of

transparency with advertisers” (DOJ Br. at 57) are unsupported by evidence that other search

engines provide materially different information and ignore Google’s reasoned balancing of

other material considerations, including preserving user privacy. FOF ¶¶ 1199-1219.

       H.      Plaintiffs Misinterpret the Procompetitive Benefits of the Challenged
               Agreements and Fail to Meet Their Burden under Section Two.

       58.     Under the burden-shifting framework described in Microsoft, “[i]f the monopolist

asserts a procompetitive justification—a nonpretextual claim that its conduct is indeed a form of

competition on the merits,” then “[t]he plaintiff bears the burden not only of rebutting a proffered

justification but also of demonstrating that the anticompetitive effect of the challenged action

outweighs it.” Microsoft, 253 at 59, 67. It is Plaintiffs who must show that Google’s asserted

benefits are illegitimate or unsubstantiated, outweighed by anticompetitive harm, or “that

‘substantially less restrictive alternative rules’ existed to achieve the same procompetitive

benefits.” NCAA v. Alston, 594 U.S. 69, 100 (2021); see Microsoft, 253 F.3d at 59.

       59.     There is no merit to Plaintiffs’ contention “that Google’s arguments are largely

pretextual” (DOJ Br. at 67), which is based in large part on their assertions that Google did not

contemporaneously document the stated benefits. Id. at 69-75. Although many of the


                                                 25
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 32 of 42




procompetitive benefits are in fact supported by ordinary-course documents and data, that is not

required to render them valid, as the “economic utility” of a restriction is based on sources

including “scholarly and judicial authority” and the degree to which it is “widely used in our free

market economy.” Continental T.V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 57-58 (1977). For

example, in Microsoft the D.C. Circuit credited Microsoft’s copyright-based justification for

preventing OEMs from automatically substituting a different interface after initial boot-up, 253

F.3d at 63, even though the district court condemned that restriction based on contemporaneous

documents indicating it was intended to serve Microsoft’s own goals, 84 F. Supp. 2d at 61.

       60.     Plaintiffs’ assertion that documents indicate “search exclusivity was Google’s

primary goal in negotiating … with Android partners” (DOJ Br. at 74) does not show pretext

because it does not demonstrate that Google entered the challenged agreements to prevent rivals

from reaching some unspecified scale threshold or to preclude Apple or Branch from operating a

GSE. The universal desire to compete to advance business objectives—often at the expense of

rivals seeking the same opportunity—does not render pretextual the resulting procompetitive

benefits. Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991, 1001

(9th Cir. 2010) (rejecting Section 2 claims where documents showed the defendant sought to

“add[] customer value by improving performance” and also “hoped its new technology would

constitute a barrier to entry” for competitors).

       61.     Furthermore, it is not the case that the benefits of the challenged agreements

accrue outside the alleged markets. DOJ Br. at 59-62. All of the claimed benefits increase search

quality or output, and they are indisputably cognizable even if they originate in complementary

markets and “spill[]” or “boomerang back into the search market.” Sept. 1, 2023 Hr’g Tr. 47:21-

48:6; see Sullivan v. NFL, 34 F.3d 1091, 1113 (1st Cir. 1994).



                                                   26
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 33 of 42




       62.     The benefits to competition involving complements to search engines—such as

browsers and smartphones—are also cognizable even if those benefits remain outside the alleged

markets. Plaintiffs misinterpret the cited cases, including Microsoft, where the court held that

Microsoft could advance the “the same procompetitive justification” it had substantiated in the

market for “operating systems” in defending against claims of “anticompetitive effects in the

browser market.” 253 F.3d at 96; see also Eastman Kodak v. Image Tech. Servs., Inc., 504 U.S.

451, 455-56, 483 (1992) (finding a triable issue under Section 2 as to whether “promot[ing]

interbrand equipment competition” in the market for copiers could justify restrictions in the

separate alleged markets for “service and parts” for copiers). Plaintiffs’ contention that “benefits

of the conduct that remain outside of the relevant market do not improve the superiority of the

product at issue” (DOJ Br. at 60) fails where, as here, the same consumers use both the product

in the alleged market (e.g., a GSE) and the complement (e.g., the smartphone or browser on

which searches are entered) and therefore benefit from improvements to the latter. Google Br. at

63 (citing cases crediting efficiencies in complementary markets).

       I.      Plaintiffs Have Not Rebutted the Justifications for the Browser Agreements.

       63.     Throughout the period Plaintiffs’ experts evaluated for potential anticompetitive

effects, browser developers such as Apple and Mozilla continued an industry-wide practice of

designing their browsers with a single default search engine because they believe doing so

benefits their products and customers, and they have chosen to set Google as the default based on

quality and price—the hallmarks of competition on the merits. FOF ¶¶ 1220-30, 1277-79, 1348-

57, 1375-83; RFOF ¶¶ 68-76. The Sherman Act does not condemn these product-design

decisions and the resulting agreements, even if they can be characterized as exclusive. EpiPen,

44 F.4th at 989, Stearns Airport Equip. Co. v. FMC Corp., 170 F.3d 518, 524 (5th Cir. 1999).



                                                 27
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 34 of 42




       64.     Plaintiffs incorrectly characterize browser developers as “distributors” with

compromised incentives. DOJ Br. 63-64. Browser developers are “end users” for present

purposes because they internalize any diminished quality or increased cost of their default search

service, as exhibited by the harm Mozilla experienced when it set an inferior search engine as the

default. FOF ¶¶ 1365-73; RFOF ¶¶ 113-17; see EpiPen, 44 F.4th at 995-96 (describing insurers

and manufacturers as “end users” even though they have their own customers). That browser

developers rely on revenue share payments from search engines does not cast doubt on their

incentives, but rather illustrates why they are better positioned than any given consumer to

promote continued competition among suppliers. Id. at 995; Barry Wright, 724 F.2d at 237-38.

       65.     Plaintiffs’ claim that “competition for exclusive contracts … will always favor the

monopolist” (DOJ Br. at 65) is contrary to law, as “[c]ourts repeatedly explain that exclusive

dealing agreements are often entered into for entirely procompetitive reasons and pose very little

threat to competition even when utilized by a monopolist.” EpiPen, 44 F.4th at 983; Paddock

Pubs., Inc. v. Chi. Tribune Co., 103 F.3d 42, 45 (7th Cir. 1996) (observing “[e]xclusive contracts

make the market hard to enter in” the interim but concluding they “cannot stifle competition over

the longer run”). The assertion also assumes that Google is overpaying for default status, when

Plaintiffs never offered any such evidence and argued the opposite. DOJ FOF ¶¶ 319-22. And it

is contradicted by the evidence of browser developers evaluating and fielding offers from rival

search engines in order to make the best decision for their customers. FOF ¶¶ 1304-47, 1378-79.

       66.     Plaintiffs are also incorrect in characterizing the competition for browser defaults

as “winner-take-all” contests. DOJ Br. 65-66. The evidence shows that significant query volumes

flow through access points outside of a browser’s search box, and that Apple and Mozilla

promote rival search engines in numerous ways in the same browsers where Google is the



                                                28
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 35 of 42




default. FOF ¶¶ 1280-92, 1350-55, 1401-14. The evidence also demonstrates that neither Apple

nor Mozilla wants to split the browser default among multiple search engines based on device

type or browsing mode—a decision that is consistent with how all manner of developers have

designed their browsers for two decades. FOF ¶¶ 860-68, 1220-40, 1348-57; RFOF ¶¶ 119-25.

       67.     Plaintiffs’ argument that competition for default status is “illusory” highlights

their misguided focus on outcomes rather than whether the challenged conduct substantially

“harm[s] the competitive process and thereby harm[s] consumers.” Microsoft, 253 F.3d at 58. As

indicated, there is ample evidence of browser developers using defaults as a “competitive tool”

to stimulate competition on quality and price. EpiPen, 44 F.4th at 989; see FOF ¶¶ 1262-67,

1310-39, 1376-69, 1387-1400. Mozilla’s selection of Yahoo contradicts Plaintiffs’ assertion that

browsers will not take chances with Google’s rivals. Yahoo then failed to improve (contrary to

Plaintiffs’ contentions regarding the role of scale) and failed to retain most Firefox users

(contrary to Plaintiffs’ contentions regarding the “power” of defaults)—failures that prompted

Mozilla to switch back to Google (contrary to Plaintiffs’ contention that browser developers lack

the incentive to provide the best search experience). FOF ¶¶ 1365-79.

       68.     The benefits to search quality and output from the browser agreements are not

pretextual because of a purported lack of Google documentation. DOJ Br. at 69-70. Browser

developers such as Apple and Mozilla detailed the importance of building a browser that works

out-of-the-box (which makes it easier for users to search), their use of revenue share payments to

fund browser improvements (which facilitate more searching), the importance of the default

search experience to browser quality (which highlights the complementarity of browsers and

search), and the existential threat to independent browsers from not being able to set their

preferred default. FOF ¶¶ 1220-30, 1349-60, 1380-83, 1435-67.



                                                 29
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 36 of 42




       69.     Last, Google’s revenue share payments to browser partners are not properly

characterized as a sharing of monopoly profits, but rather reflect price decreases that generate

cognizable in-market efficiencies. FOF ¶¶ 71-76, 1435-67; RFOF ¶¶ 201-14. Plaintiffs’

horizontal conspiracy cases (DOJ COL at 31) are inapplicable to the vertical agreements here.

       J.      Plaintiffs Have Not Rebutted the Justifications for the Android Agreements.

       70.     Plaintiffs’ arguments regarding the procompetitive benefits of the Android

agreements seek to impose an additional burden not found in the case law. Google need not

prove that it would “lack incentives to support Android” altogether without the challenged

agreements. DOJ Br. at 71. Here, the evidence demonstrates that the MADAs and RSAs—both

alone and together—enhance search quality and output.

       71.     Plaintiffs have not rebutted the procompetitive benefits of MADAs, including that

they facilitate the availability of low-cost Android smartphones, which generate more searches

per device than feature phones or iPhones. FOF ¶¶ 1686-93, 1709-14; RFOF ¶¶ 293-96, 302.

Plaintiffs misinterpret the evidence in asserting that Android OEMs or users “dislike” the Google

Search widget or that there is a lack of differentiation among Android smartphones, as the record

reflects precisely the opposite. RFOF ¶¶ 287-89. And contrary to Plaintiffs’ contention (DOJ Br.

at 72-73), Google has amply substantiated the importance of a consistent, high-quality out-of-

the-box experience on Android devices. The easy availability of the most popular search engine

encourages users to search more and makes Android devices more competitive with iPhones—a

competition that Plaintiffs do not dispute enhances search output. FOF ¶¶ 1686-1715.

       72.     Plaintiffs have not established that a “consistent choice screen on all Android

phones” (DOJ Br. at 73) would achieve “the same procompetitive benefits” as the

MADA. Alston, 594 U.S. at 100. They have neither demonstrated that devices with a choice

screen generate the same enhanced level of search output, nor shown that Google would have the

                                                30
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 37 of 42




same incentive to invest in the Android ecosystem if it could not promote its monetizable

services as the MADA specifies. FOF ¶¶ 1689-91; RFOF ¶¶ 216-22, 299-303.

       73.     Plaintiffs have failed to rebut the procompetitive benefits of Android RSAs.

Plaintiffs admit that search output has increased as a result of substantial financial investments

made by Android RSA partners that have led to the “ubiquity of smartphones” and

“improvements in mobile telecommunications technologies” (DOJ Br. at 68), but they argue that

Google has not precisely traced how particular revenue share payments were used. The case law

imposes no such requirement, as courts routinely credit procompetitive justifications without

requiring quantification. Microsoft, 253 F.3d at 63, 67; Barry Wright, 724 F.2d at 237. Payments

enhance search output regardless whether partners use them, e.g., to design a better smartphone,

build a faster wireless network, or offer a discounted device or data plan. FOF ¶¶ 1686-93.

       74.     Plaintiffs have not established a less-restrictive alternative by arguing that

“Google could untether its revenue-share payments from restrictive search term agreements.”

DOJ Br. at 68. The evidence shows that these alternatives increase costs, do not achieve the same

benefits of aligning incentives to increase search output, and would reduce payments to partners,

thus lessening their incentive to support Android and grow search output. FOF ¶¶ 1727-35.

DOJ’s contention that a world where “Google lost its [putative] monopoly” would produce even

more benefits (DOJ Br. at 67) assumes an impact of the challenged conduct they never proved.

       75.     Finally, Google’s revenue share payments to Apple do not undermine its

justification that MADAs and RSAs promote competition between Android and iOS, which in

turn increases search output. DOJ Br. at 74-75. Google competes to be the default in Safari (and

pays Apple a negotiated revenue share) because Safari is a popular browser, and Google seeks to

make its services easily accessible to its customers. Google also plainly has an interest in



                                                 31
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 38 of 42




ensuring that Android competes successfully with iOS—where the MADAs and RSAs underpin

that strategy—as DOJ itself argues. DOJ Br. at 71; see RFOF ¶¶ 284-303.

       K.      Google’s SA360 Conduct Is Not a Basis for Liability under Section Two.

       76.     Exclusionary conduct requires proof of a “substantial effect in protecting”

Google’s asserted monopoly power “through a means other than competition on the merits.”

Microsoft, 253 F.3d at 62; see id. at 71. Colorado Plaintiffs err by asserting they need only “show

that Google’s conduct ‘reasonably appears capable of making a significant contribution to

monopoly power.’” to prove their prima facie case. Colorado COL ¶ 32. The D.C. Circuit held

that this “rather edentulous test” describes only what a plaintiff must show as to causation, as

explained above. Microsoft, 253 F.3d at 79. It is not the test for proving exclusionary conduct.

       77.     Colorado Plaintiffs have not proven their prima facie case of exclusionary

conduct with respect to Google’s SA360 conduct. As Google demonstrated, it has no duty to deal

with Microsoft under Verizon Commc’ns, Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S.

398 (2004). Google did not terminate a voluntary and profitable prior course of dealing with

Microsoft, did not sacrifice short-term profits in order to harm competition, and did not refuse to

deal with Microsoft while dealing with others on the same product. Google COL ¶ 122.

       78.     Colorado Plaintiffs paint a picture of a “qualified” and “limited” duty to deal

doctrine (Colorado COL ¶ 38), but “there are only a ‘few existing exceptions from the

proposition that there is no duty to aid competitors.’” New York v. Meta Platforms, Inc., 66 F.4th

288, 305 (D.C. Cir. 2023). “As ‘a general rule, businesses are free to choose the parties with

whom they will deal, as well as the prices, terms, and conditions of that dealing.’” Id. at 306.

       79.     Colorado Plaintiffs also contend the duty to deal doctrine “has no application”

where “a monopolist maintains an ongoing, voluntary course of dealing.” Colorado COL ¶¶ 38-

41; Colorado Br. at 33-35. But this is twice flawed.

                                                 32
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 39 of 42




       80.     First, none of their cases (Colorado COL ¶ 41) stand for the proposition that any

voluntary dealings between rivals create an obligation for a business to satisfy all of its rival’s

demands as to all aspects of the businesses’ relationship. Instead, the cases either (1) involve the

termination or change of existing terms, and not any obligation to meet a rival’s new demands;

or (2) do not involve a Section 2 claim at all. Otter Tail Power Co. v. United States, 410 U.S. 366

(1973) (termination of a wholesale power agreement); A.I.B. Express, Inc. v. FedEx Corp., 358

F. Supp. 2d 239 (S.D.N.Y. 2004) (termination of pricing agreement); Safeway, Inc. v. Abbott

Labs., 761 F. Supp. 2d 874 (N.D. Cal. 2011) (change of existing terms); Parsons v. Bright House

Networks, LLC, 2010 WL 5094258 (N.D. Ala. Feb. 23, 2010) (denying motion to dismiss

Section 1 tying claim). Likewise, none hold that a firm’s refusal to aid a rival by withholding

assistance not previously extended is anticompetitive. Such unilateral conduct does not “trigger

antitrust scrutiny.” Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1074-75 (10th Cir. 2013).

       81.     Second, Colorado Plaintiffs define “course of dealing” so broadly—voluntarily

continuing to “engage with another marketplace participant,” Colorado Br. at 34-35—that it

would leave the principle that a business has no duty to deal with its rivals a hollow

shell. Google did not cede to Microsoft the ability to dictate which features Google builds for

SA360, and on which timeline, by offering advertisers the ability to buy advertising on Bing (and

other search engines). RFOF ¶ 311. Likewise, that Google and Microsoft entered into a 2016

agreement generally setting forth a dispute resolution process (completely agnostic as to SA360)

does not mean that Google suddenly has a duty under the antitrust laws to accede to Microsoft’s

demands on all aspects of the companies’ relationships. RFOF ¶ 312.

       82.     Colorado Plaintiffs also seek to evade the duty to deal doctrine because Google’s

alleged “conduct interferes with a rival’s relationship with their customers.” Colorado COL ¶ 43



                                                 33
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 40 of 42




(citing Lorain Journal Co. v. United States, 342 U.S. 143 (1951)). But refusals to aid rivals often

interfere with a rival’s relationship with their customers, yet universally are analyzed under the

duty to deal doctrine. Novell, 731 F.3d at 1069 (Microsoft’s conduct delayed Novell’s roll-out of

applications to customers). The conduct here is a far cry from Lorain Journal, which involved

coercing customers into exclusive dealing, not a denial of access to rivals. 342 U.S. at 154-

55. Here, as in Trinko, Google’s “alleged insufficient assistance in the provision of service to

rivals is not a recognized antitrust claim under . . . refusal-to-deal precedents.” 540 U.S. at 410.

       83.     Nor can Colorado Plaintiffs evade the duty to deal doctrine by relabeling their

claim as “degraded support for Microsoft Ads features on SA360” (Colorado COL ¶¶ 34, 36)

and demanding application of the “normal Microsoft three-step framework.” Colorado Br. at 33.

The D.C. Circuit rejected this argument in Meta, which treated allegations that Facebook

“degrad[ed] the functionality and distribution of potential rivals’ content” as “another way of

saying that Facebook refused to deal with its rivals on the rivals’ preferred terms.” 66 F.4th at

306. The Court reasoned that when, as here, the substance of a claim is that the defendant denied

access to rivals, the duty to deal doctrine—and not some other mode of analysis—governs. Id.

       84.     Imposing a virtually unlimited duty to assist a rival when parties have a

“voluntary, ongoing business relationship[]” (Colorado COL ¶ 41) or when purportedly withheld

assistance “interferes” with a rival’s relationship with customers (Colorado COL ¶¶ 43-44)

would “risk reducing incentives both sides have to innovate, invest, and expand”; threaten

“judicial complicity in collusion and dampen price competition”; and “require [courts] to become

‘central planners,’” an ill-suited role. Novell, 731 F.3d at 1073. The adverse consequences for

competition of accepting Colorado Plaintiffs’ position are particularly acute here, as they seek to

convert SA360 into a public utility run at Google’s expense for Microsoft’s benefit by forcing



                                                 34
       Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 41 of 42




Google to deal with Microsoft on Microsoft’s preferred terms and timetable. Colorado Plaintiffs

do not describe any limits on the Microsoft features that Google must integrate into SA360, the

resources Google must expend toward that goal, or the timetable on which Google must comply

with Microsoft demands. Colorado Plaintiffs’ silence underscores why this Court should adhere

to the duty to deal doctrine and find that Colorado Plaintiffs failed to satisfy its elements.

       85.     Google’s refusal to deal with Microsoft as Microsoft would prefer is

“unadulterated unilateral conduct” that does not “trigger antitrust scrutiny.” Id. at 1074-75; see

linkLine, 555 U.S. at 444 (“[A] firm with no antitrust duty to deal with its rivals at all is under no

obligation to provide those rivals with a ‘sufficient’ level of service”).

IV.    PLAINTIFFS’ REQUEST FOR SANCTIONS SHOULD BE DENIED.

       86.     Plaintiffs’ sanctions request relies on the same order in the Google Play litigation

that the parties previously briefed (ECF 601, 602) and that this Court already addressed. June 28,

2023 Hr’g Tr. 19:11-20:6 (“I’m not inclined to [adopt the Epic findings]…. [T]he record before

me, I think, should . . . stand or fall based upon what’s happened with respect to this case. And

it’s not clear to me that the testimony that was elicited in Judge Donato’s matter is equally

applicable here.”). Plaintiffs make no new arguments, and still do not (and cannot) demonstrate

that any purportedly missing chat would have changed the factual record in this case or

substantively altered Plaintiffs’ litigation strategy. Nor can they show that Google acted with an

intent to deprive Plaintiffs of relevant information to gain some advantage in this litigation. For

all the reasons previously briefed, and as further addressed in Google’s response to Plaintiffs’

Proposed Findings of Fact, there is no basis on which to sanction Google.




                                                  35
      Case 1:20-cv-03010-APM Document 866 Filed 03/29/24 Page 42 of 42




Dated: March 22, 2024               Respectfully submitted,

                                    WILLIAMS & CONNOLLY LLP

                                    By: /s/ John E. Schmidtlein
                                    John E. Schmidtlein (D.C. Bar No. 441261)
                                    Benjamin M. Greenblum (D.C. Bar No. 979786)
                                    Colette T. Connor (D.C. Bar No. 991533)
                                    680 Maine Avenue, SW
                                    Washington, DC 20024
                                    Tel: 202-434-5000
                                    jschmidtlein@wc.com
                                    bgreenblum@wc.com
                                    cconnor@wc.com

                                    WILSON SONSINI GOODRICH & ROSATI P.C.
                                    Susan A. Creighton (D.C. Bar No. 978486)
                                    Franklin M. Rubinstein (D.C. Bar No. 476674)
                                    Wendy Huang Waszmer (D.C. Bar No. 1631078)
                                    1700 K Street, NW
                                    Washington, DC 20006
                                    Tel: 202-973-8800
                                    screighton@wsgr.com
                                    frubinstein@wsgr.com
                                    wwaszmer@wsgr.com

                                    ROPES & GRAY LLP
                                    Mark S. Popofsky (D.C. Bar No. 454213)
                                    2099 Pennsylvania Avenue, NW
                                    Washington, DC 20006
                                    Tel: 202-508-4624
                                    Mark.Popofsky@ropesgray.com

                                    Matthew McGinnis (admitted pro hac vice)
                                    Prudential Tower
                                    800 Boylston Street
                                    Boston, MA 02199
                                    Tel: 617-951-7703
                                    Matthew.McGinnis@ropesgray.com

                                    Counsel for Defendant Google LLC




                                     36
